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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ROBYNN EUROPE,
20-cv-7787 (JGK)
Plaintiff,
MEMORANDUM OPINION
- against - AND ORDER

EQUINOX HOLDINGS, INC., ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

The plaintiff, Robynn Europe, brought this action against
Equinox Holdings, Inc., Equinox East 92nd Street, Inc.
(together, “Equinox” or the “corporate defendants”), and three
Equinox employees, Jose Taveras, Christopher Maltman, and Adam
Gecht, In a Memorandum Opinion and Order dated September 39, 2022
(the “Opinion”), ECF No. 160, this Court denied in large part
the defendants’ motion for summary judgment seeking to dismiss
the plaintiff's claims of employment discrimination based on
race, sex, and a hostile work environment, but granted summary
judgment for the defendants on the plaintiff’s claim for
retaliation in violation of Title VII, the New York State Human
Rights Law (“NYSHRL”), and the New York City Human Rights Law
(“NYCHRL”). The plaintiff now moves for reconsideration of the
grant of summary judgment dismissing the plaintiff’s retaliation
clam. For the following reasons, the plaintiff’s motion for

reconsideration is denied.

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I.
The Court assumes familiarity with the facts of this case,

which are set out in detail in the prior Opinion. See Burope v.

Equinox Holdings, Inc., No. 20-cv~-7787, 2022 WL 4124763, at *1-4

(S.D.N.Y¥. Sept. 9, 2022).
II,
Reconsideration of a previous Opinion of the Court is an
“extraordinary remedy to be employed sparingly in the interests
of finality and conservation of scarce judicial resources.” In

re Beacon Assocs. Litig., 818 F. Supp. 2d 697, 701 (S.D.N.Y.

2011).1 To succeed on a motion for reconsideration, the movant
carries a heavy burden. The movant must show “an intervening
change of controlling law, the availability of new evidence, or
the need to correct a clear error or prevent manifest

injustice.” Doe v. N.Y¥.C. Dept of Soc. Servs., 709 F.2d 782, 789

(2d Cir. 1983). “A motion for reconsideration is not an
opportunity for making new arguments that could have been

previously advanced.” Liberty Media Corp. v. Vivendi Universal

S.A., 861 F. Supp. 2d 262, 265 (S.D.N.¥. 2012). Moreover, the

“decision to grant or deny a motion for reconsideration rests

within the sound discretion of the district court.” Vincent v.

1 Unless otherwise noted, this Memorandum Opinion and Order
omits all internal alterations, citations, footnotes, and
quotation marks in quoted text.
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The Money Store, No. O3-cv-2876, 2014 WL 1673375, at *1

(S.D.N.Y. Apr. 28, 2014).
TIr.

The plaintiff advances two bases for reconsideration.
First, the plaintiff argues that the Court overlooked evidence
of retaliatory animus other than temporal proximity. Second, the
plaintiff argues that the Court overlooked an Order issued by
Magistrate Judge Parker granting sanctions against the
defendant. See ECF No. 95 (“Sanctions Order”).

A.

The plaintiff claims that other evidence establishes an
inference of retaliation that the plaintiff was fired for
complaining about discrimination.

First, the plaintiff points to comments made by Maltman
that the plaintiff was having a fit, that the plaintiff was not
being “charming,” Orzick Decl., Bx. 24, ECF No, 89-24, an
alleged reference to a “charming Negress,” id., Ex. 5, ECF No.
89-5, at 68-69, and that Maltman did “not wish to be subject to
this type of person . . . I truly do not appreciate this woman
nor do I want to work with her any longer . . . I don’t wish to
be subject of her desire to find something wrong that I am
doing.” Id., Ex. 27, ECF No. 89-27, at 1.

Maltman’s comments do not support an inference of

retaliation. As the Court pointed out in the original Opinion,

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the “plaintiff testified that Maltman never directed any
harassing, discriminatory, or retaliatory conduct toward the
plaintiff personally.” Europe, 2022 WL 4124763, at *2. The Court
also noted that the plaintiff had already raised with her
supervisor “the difficulties that the plaintiff had working with
and supervising Maltman.” Id. Moreover, Maltman’s comments do
not appear to reflect any indication of retaliation and there is
no evidence that Maltman, who was subordinate to the plaintiff,
was a decisionmaker with respect to the plaintiff's termination.
Second, the plaintiff argues that Equinox’s inconsistent
responses to Taveras’s lateness as opposed to its responses to
the plaintiff’s lateness evinced retaliatory intent. However,
the Court did consider the issues related to Taveras’s lateness,
see id, at *6-8, but concluded that the plaintiff failed to
adduce “evidence sufficient to show that her termination was
motivated by her protected conduct,” id. at *10. Furthermore,
this argument still does not respond to this Court’s reasoning
that, because the plaintiff's protected activity began long
after Equinox had begun to discipline the plaintiff for
lateness, there was no causal connection between her ultimate
termination for lateness and that protected activity even under

the permissive standard of the NYCHRL. See Bacchus v. N.Y.C.

Dep’t of Educ., 137 F. Supp. 3d 214, 247 (E.D.N.Y. 2014} (“An

employer’s continuation of a course of conduct that had begun
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before the employee complained does not constitute retaliation
because, in that situation, there is no causal connection
between the employee’s protected activity and the employer’s
challenged conduct.”).

Here, the plaintiff failed to adduce sufficient evidence
that the protected activity was a motivating factor in the
plaintiff's termination. Rather, the plaintiff’s documented
lateness, which began well before her participation in a
protected activity, produced progressive discipline that began
before the protected activity. Thus, the plaintiff's arguments
for reconsideration - which have already been made on the motion
for summary judgment - are without merit.?

B.

The plaintiff's second basis for reconsideration is that
the Court failed to consider the effect of Magistrate Judge
Parker's Sanctions Order. The Sanctions Order prevented the
defendants from arguing that the plaintiff’s attendance record
in September 2019 was worse than her comparators or from
otherwise comparing the plaintiff's attendance record to that of
others for the month of September. See Sanctions Order at 17.

However, the Sanctions Order had no bearing on the Opinion

2 The Court was also unpersuaded that a jury could find that
the alleged experience of other employees was sufficient to show
that retaliation was a factor in the plaintiff’s termination.
See ECF No. 90, at 18-19; ECF No. 9?, at 7-8; Europe, 2022 WL
4124763, at *12.
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because the Opinion did not rely on a comparison between the
plaintiff’s attendance record and those of her comparators in
the month of September. Instead, the Opinion focused on the
plaintiff’s tardiness itself, beginning in April 2019.
Accordingly, this is an insufficient basis for reconsideration.
CONCLUSION

The Court has considered all of the arguments of the
parties. To the extent not discussed above, the arguments are
either moot or without merit. For the foregoing reasons, the
plaintiff’s motion for reconsideration is denied.
SO ORDERED.

Dated: New York, New York
November 15, 2022

. / John G. Koeltl
United States District Judge
